       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 1 of 21



                                                                                      Fiffg$ i ilgHflr**,FF*,
                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT

IN THE MATTER OF THE SEARCH OF
ELECTRONIC DEVICES SEIZED FROM
GREGORY ABP.UZZO AND THAT                         Case No.
                                                              2'                     Csuv)
CURRENTLY ARE LOCATED IN THE
                                                              "J-
EVDIENCE LOCKER OF            THE
CONNECTICUT DIVISION OF PAROLE
AND COMMLINITY SERVICES, LOCATED
AT IO52 NORTH AVENUE, BRIDGEPORT,
CONNECTICUT


                            AFFIDAVIT IN SUPPORT OF AN
                          APPLICATION UNDER RULE 41 FOR A
                           WARRANT TO SEARCH AND SEIZE


       I, Michael Oppenheim, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a search wamant authorizing the examination of property-two

electronic devices-which are cumently in law enforcement possession, and the extraction from

that property of electronically stored information described in Attachment B.

       2. I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives ("ATF"), and have been since August 200L Since becoming a law enforcement

officer, I have participated in hundreds of investigations of firearms violations and have

conducted or participated in surveillances, the execution of search warrants, and the debriefing of

informants and cooperating witnesses. I have also examined firearms dealer records, inspected

dealer premises, and investigated both licensed and unlicensed firearms dealers. Through

training, education, and experience, I have become familiar with the documents and records, to
        Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 2 of 21




include electronic information, possessed by dealers and owners of firearms, and the manner in

which individuals unlawfully possessing or dealing in firearms store, maintain, or use firearms.

        3.      As a law enforcement officer, I have utilized pen registers, geolocation data, Title

III wiretaps, Social Media exploitation, and other investigative techniques related to cellular
devices numerous times in the past while conducting and in fufthelance of firearms and narcotics

traffi cking investigations.

        4.      As an ATF Digital Media Collection Specialist (DMCS), I have examined more

than 200 digital devices, most of which were cellular telephones. In doing so, I have utilized

multiple techniques to examine and/ol extract data fiom devices in a folensically sound manner.

In most instances, I have conducted apafiral or thorough analysis of the extracted data.

        5.      This affidavit is intended to show only that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

        6.      Based on the facts set forth in this affidavit, there is probable cause to believe that

violations of Title 18, United States Code, Section 922(a)(1)(A) (unlawful manufacturing or

trafficking of firearms); Title 18, United States Code, Section 922(il0) (felon in possession of

firearms or' amrnunition) and Title 18, United States Code, Section 922(9)(3) (unlawful user of a

controlled substance in possession of firearms or ammunition) (collectively, "the Target

Offenses") have been committed by Gregory ABP*UZZO and others unknown. There is also

probable cause to believe that located in the property described in Attachments Al and 42, there

will be evidence, instrumentalities, or fruits of these crimes, and will lead to the identification of

individuals who are engaged in the commission of these offenses, to include ABRUZZO'S

suppliers and customers.




                                                  2
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 3 of 21




                IDENTIFICATION OF THB DEVICBS TO BE EXAMINED

       7.      The property to be searched is the following, which were seized by the Monroe

Police Department and then a Connecticut Parole Officer from a vehicle used by of Gregory

ABRUZZO on February 20, 2024, and February 21, 2024, pursuant to a Statement of

Understanding and Agreement - Conditions of Parole, which Abruzzo executed on November

28,2023. This document required that ABP.UZZO submit to a search of any and all of his

belongings at any time with or without cause:

            a) One Apple, model MTQU3LL/A (iPhone 15 Pro), serial number:
               DCVVDHZYXL (the TARGE T TE LEPI-IONE)

            b) One HP Laptop computer, seral number: 5CD312KW07 (the TARGET
               coMPUTER)

       8.      The Devices are currently located at the Connecticut Division of Parole and

Cornmunity Services, 1052 North Ave, Bridgeport, CT, Connecticut.

       9.      The applied-for waruant would authorize the forensic examination of the Devices

for the purpose of identifying electronically stored data parlicularly described in Attachments B1

andB2.

                                     PROBABLE CAUSE

       10.     On February 22,2024,I was advised by Connecticut Parole Officer Jack Wallace

that Gregory ABRUZZO (born 1981), whom Officer Wallace supervises, had recently been

arrested after police contact due to him having overdosed. Ofhcer Wallace explained to me that,

late on February 20,2024, Joseph Abruzzo called the police to 66 Laurel Drive, Monloe for his

son, who was sitting, ullresponsive, in the driver's seat of ABRUZZO'S black Fold truck. While




                                                -l
        Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 4 of 21




being treated for what was determined to be a narcotics overdose, ABRUZZO advised first

responders of a gunshot wound to his leg.

        I   1.   Based on the gunshot wound, blood splattered all over the interior of the vehicle,

and the obvious use of narcotics, Monroe Police Officers looked around the cab of the truck.

Officers observed needles, drug paraphelnalia, suspected heroin, two fully loaded l7-lound

Glock 9mm magazines, a full box of 9mrn arnmunition, and a holster for a Glock firearm still in

its package. At that point, officers seized the magazines and ammunition, discontinued searching

the vehicle and had it towed to the Monroe Police Department.

        12.      ABP.UZZO advised officers that he had been shot a few days prior in

Philadelplria, Pennsylvania. Joseph Abruzzo advised officers that ABRUZZO travels to

Philadelphia to purchase narcotics, having just returned from a trip there for a few days.

       13.       Officers from Monroe lealned that ABRUZZO was under Parole supervision and

contacted Officer Wallace and advised him of the incident, that they had ABRUZZO'S vehicle at

the police department, and that they had located two loaded magazines within it.

       14.       Officel Wallace went to the hospital and spoke with ABRUZZO, who admitted to

overdosing. He told Officer Wallace that he had been shot while attempting to purchase drugs in

Philadelphia on February 13,2024. Ultirnately, ABRUZZO provided Officer Wallace with

inconsistent information about both when he was shot, when and if he possessed a firearm, and

where besides Philadelphia he had travelled. Officer Wallace later advised me that he believed

ABP.UZZO was lying to him about most aspects of the prior few days.

       15.       Officer Wallace then went to the Monroe Police Department to search

ABRUZZO'S vehicle. Officer Wallace has the ability and right under the Parole conditions of

release, to inspect, search, or otherwise examine essentially anything related to the offender that

                                                 4
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 5 of 21




would allow Parole Officers to assess the offender's cornpliance with the conditions of his or her

release. Officer Wallace indicated that he routinely inspects or attempts to inspect his offendels'

lesidences, vehicles, and electronic devices, most frequently cellular telephones, during his

compliance checks. Al1 offenders on palole sign and execute the conditions of lelease form

referenced above, stating "I will submit to a search of my person, possessions, vehicle, residence,

business, or othel area under my control at any time, announced ol unannounced, with or without

cause by parole or its agents to verifu my compliance with the conditions of my parole."

       16.     From within the vehicle, Officer Wallace observed that it contained a latge

number of needles and had a lot of blood within the interior. He also located a Bass Pro Shop /

Cabela's receipt, fi'om the Cabela's in Hamburg, Pennsylvania, dated Febluary 17,2024,with

purchased items that included two Glock magazines, two boxes of 9mm ammunition, and a

holster. In addition to the two loaded Glock magazines and the two boxes of ammunition (which

match the items listed on the receipt) previously observed by officers from Monroe, Officer

Wallace located one spent 9mm shell casing, an iPhone in a clear case (the TARGET

TELEPHONE), an HP laptop computer (the TARGET COMPUTER), and a 3-D printer.

Ultirnately, the Monroe Police Department seized narcotics paraphernalia, the magazines, the

ammunition, and some clther items, while Officer Wallace took custody of the TARGET

TELEPHONE and the TARGET COMPUTER. ABP*UZZO was charged, via warant, in state

court with Unlawful Possession of Large Capacity Magazines and Criminal Possession of

Ammunition.

       17.     Based on his autholity to search palolee's devices, Officer Wallace examined the

contents of the TARGET TELEPHONE. From within, he observed a photograph, which was

date-stamped February 17,2024, of a Privately Made Firearm (PMF) with a Glock, model 45,

                                                 5
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 6 of 21




9rnrn slide, perched upon a loaded Glock magazine. The PMF also appears to have a magazine

within the firearm. Officer Wallace also observed that the photograph was taken fi'orn within the

cab of ABRUZZO'S Ford truck. Officer Wallace also located an iMessage conversation

between ABP.UZZO and his father which included ABP.UZZO messaging his fathel the above-

referenced photograph of the PMF and a second angle of the same on February 77, 2024, at

approxinrately 1 1 :19 a.m. Officer Wallace also located a conversation between ABRUZZO and

his father fi'om late January 2024, wherein he asked his father "YoLl need and high Capacityfsic]

mags? Down here in Philly and am getting some myself today." He followed this up with "Like

rnaybe for one of your HKs or something." I know from my training and experience, that by

nressaging "Philly," ABP.UZZO was referring to Philadelphia, Pennsylvania. I also know that,

unlike Connecticut and some other nearby states, which prohibit the sale ol purchase of high-

capacity magazines, Pennsylvania has no such restrictions, and anyone can purchase high-

capacity magazines within that state. Pennsylvania does not regulate the sales of firearms

rnagazines as Connecticut does, and therefore, anyone can purchase them in Pennsylvania.

       18.     I also know that when ABP.UZZO messaged "FIK," he was referling to Heckler &

Koch filealms, which apparently are owned by his father. His futher, who declined the offer,

also questioned ABRRUZO about why he was back in Philadelphia. He responded "I didn't

come for the usual. I wanted to try out magazines and try out some different guns at the range.

You can rent whatever you want. This is the closest place I can do this."

       19.     Officer Wallace also observed conversations wherein ABP.UZZO appears to be

setting up purchases of narcotics. This included a conversation dating back to at least December

15, 2023, with "JaylQ." Through at least January I, 2024, ABP.UZZO asked "JaylQ" for



                                                6
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 7 of 21




$100.00 worth of crack ("100 hard") on four occasions, two of which also included a request for

heroin ("a bun").

        20.    As to the images of the PMF captured within the TARGET TELEPHONE,

Officer Wallace obselved that the grip area contained a logo which includes the characters
*PYZA." I know from my training and experience with PMFs. that this logo is part of

downloadable 3-D printer plans for'firearms fi'ames and parts offered by PrintYour2A.com, the

"2A" apparently being a refbrence to the 2"d Amendment to the U.S. Constitution. I therefore

believe that the firearm pictuled within the TARGET'TELEPHONE that Parole Officer Wallace

viewed is a 3-D printed PMF fitted with a Glock slide. As a 3-D plinter was seized from within

ABRUZZO'S vehicle, I believe that it is likely that ABRUZZO himself built the pictured PMF.

       21.     I know from my training and experience, which includes investigations of PMFs

generally, and 3-D printed PMFs specifically, that, in nearly every case, a traditional computer,

such as the TARGET COMPUTER, is required to download files compatible with a 3-D printer,

and that these files are then used by the printer either by use of a memory card transferred fi'om

the computer. or connected via a data cable directly to the computer.

       22.     I know from my training and experience as an ATF Special Agent as well as an

ATF Digital Media Collection Specialist that ATF has the forensic capability to examine files,

downloads, search history, website cookies, additional browser data, and other artifacts from

within a computer that could show if the user of the computer had accessed websites offering 3-

D printer plans, downloaded any plans, and if those plans were copied to removable media

suitable for use in a 3-D printer, or were directly sent to a3-D printer.

       23.     From the various records provided to me by Officer Wallace, both from the

Connecticnt Division of Parole and Community Services and the Pennsylvania Departrnent of

                                                  7
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 8 of 21




Corrections, Parole Board, I learned that on or about September 1, 2022, ABRUZZO was

sentenced to 1   - 2 years incarceration and three years of probation for violating Pennsylvania
Statutes Title 18 Section 6106(a)(1) - Firearm Carried without a License, a 3'd Degree felony,

which is punishable by a maximum sentence of incalcelation of not rnore than seven years. The

recolds from Pennsylvania indicate that ABBRUZO signed his Parole Board Conditions

Governing Parole/Reparole, which include his expless consent to searches without a warrant. to

his person property or lesidence, on November 22,2023. He also agreed to a special condition

that he ". . . shall not possess ammunition ol drug paraphernalia under any condition or for any

reason." ABP.UZZO was released fiom custody onto parole supervision on Novemb er 23,2023 .

                                     TECHNICAL TERMS

       24.    Based on my training and experience, I use the following technical tenns to

convey the following meanings

           a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
              telephone) is a handheld wireless device used fbr voice and data communication

              through radio signals. These telephones send signals through networks of

              transmitter/receivers, enabling communication with other wireless telephones or

              traditional "land line" telephones. A wireless telephone usually contains a "call

              log," which records the telephone number, date, and tirne of calls made to and

              from the phone. In addition to enabling voice cornmunications, wireless

              telephones offer a broad range of capabilities. These capabilities include: storing

              names and phone numbers in electronic "address books;" sending, receiving, and

              storing text messages and e-mail; taking, sending, receiving, and storing still

              photographs and moving video; storing and playing back audio files; storing

                                                8
Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 9 of 21




     dates, appointments, and other information on personal calendars; and accessing

     and downloading information fi'om the Internet. Wireless telephones may also

     include global positioning system ("GPS") technology for detelmining the

     location of the device.

  b. Digital camera: A digital calnela is a camera that lecords pictures as digital
     picture files, rather than by using photographic film. Digital cameras use a

     variety of fixed and removable stolage media to store their lecorded images.

     Images can usually be retrieved by connecting the camera to a computer or by

     connecting the removable stolage medium to a separate reader. Removable

     storage media include various types of flash memory cards or rniniatule hard

     drives. Most digital carneras also include a screen for viewing the stored images.

     This storage media can contain any digital data, including data unrelated to

     photographs or videos.

  c. Portable media player: A portable media player (or "MP3 Playel" or iPod) is a
     handheld digital storage device designed primarily to store and play audio, video,

     or photographic files. However, a portable rnedia player can also stole other

     digital data. Some portable media players carl use removable storage media.

     Removable storage rnedia include various types of flash mernory cards or

     miniature hard drives. This removable storage media can also store any digital

     data. Depending on the model, a portable media player may have the ability to

     store very large amounts of electronic d,ata andmay offer additional features such

     as a calendar, contact list, clock, or games.




                                        9
Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 10 of 21




   d. GPS: A GPS navigation device uses the Global Positioning System to display its
      current location. It often contains records the locations where it has been. Some

      GPS navigation devices call give a user driving or walking directions to another

      location. These devices can contain records of the addlesses or locations involved

      in such navigation. The Global Positioning System (generally abbreviated
      "GPS") consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite

      contains an extremely accurate clock. Each satellite repeatedly transmits by ladio

      a mathematical representation of the current time, combined with a special

      sequence of numbers. These signals ale sent by radio, using specifications that

      are publicly available. A GPS antenna on Earth can receive those signals. When

      a GPS antenna receives signals from at least four satellites, a computer connected

      to that antenna can mathematically calculate the antenna's latitude, longitude, and

      sometimes altitude with a high level of precision.

   e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used
      for storing data (such as names, addresses, appointments or notes) and utilizing

      computer programs. Some PDAs also f-unction as wireless comrnunication

      devices and are used to access the Internet and send and receive e-mail. PDAs

      usually include a memory card or other removable storage media fol storing data

      and a keyboard andlor touch screen for entering data. Removable stolage media

      include valious types of flash memory cards or miniature hard drives. This

      removable storage media can store any digital data. Most PDAs run computer

      software, giving them many of the same capabilities as personal computers. For

      example, PDA users can work with word-processing documents, spreadsheets,

                                       10
Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 11 of 21




      and presentations. PDAs may also include global positioning system ("GPS")

      technology for determining the location of the device.

   f. Tablet: A tablet is a mobile computer, typically larger than a phone yet smaller
      than a notebook, that is primarily opelated by touching the screen. Tablets

      fuirction as wireless communication devices and can be used to access the Intelnet

      through cellular networks, 802.11 "wi-fi" networks, or otherwise. Tablets

      typically contain plograms called apps, which, like programs on a personal

      computer, perform different functions and save data associated with those

      functions. Apps can, for example, pelmit accessing the Web, sending and

      receiving e-mail, and participating in Internet social networks.

   g. IP Address: An Internet Protocol address (or sirnply "lP address") is a unique
      numeric address used by computers on the Internet. An IP addless is a series of

      four numbers, each in the range 0-255, separated by periods (e.g., l2l.56.91 .178).

      Every computer attached to the Internet computer must be assigned an IP address

      so that Internet traffic sent from and directed to that computer may be directed

      properly from its source to its destination. Most Internet service providers control

      a range of IP addresses. Some computers have static-that is, long-term-IP

      addresses, while other computers have dynamic-that is, frequently changed-IP

      addresses.

   h. Internet: The Internet is a global network of computers and other electronic
      devices that communicate with each other. Due to the structure of the Internet,

      connections between devices on the Internet often cross state and international



                                       i1
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 12 of 21




                 borders, even when the devices communicating with each other are in the same

                 state.

       25.       Based on my training, experience, and research, I know that the TARGET

TELEPHONE has capabilities that allow it to serve as a wireless telephone, digital camera,

portable media player, GPS navigation device, and PDA. I also know that the TARGET

COMPUTER has capabilities that allow it to serve as a digital camera, access the internet, and

store and transfer files. In my training and experience, examining data stored on devices of this

type can uncover, among other things, evidence that reveals or suggests who possessed or used

the device.

                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       26.       Based on my knowledge, training, and expedence, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored fol some period of tirne on the device. This inforrnation can

sometimes be recovered with forensics tools. Sirnilar'ly, files that have been viewed via the

lnternet are sometimes automatically downloaded into a temporary Internet directory or "cache."

       27.       There is probable cause to believe that things that were once stored on the

TARGET COMPUTER may still be stored there, for at least the following reasons:

              a. Based on my knowledge, training, and experience, I know that computer files or
                 remnants of such files can be recovered months or even years after they have been

                 downloaded onto a storage medium, deleted, or viewed via the Internet.

                 Electronic files downloaded to a storage medium can be stored for years at little

                 or no cost. Even when files have been deleted, they can be recovered months or

                 years later using forensic tools. This is so because when a person "deletes" a frle

                                                  12
      Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 13 of 21




               on a computer, the data contained in the file does not actually disappear'; rather,

               that data remains on the storage medium until it is overwritten by new data.


           b. Therefole, deleted files. ol remnants of deleted files, may reside in free space or
               slack space-that is, in space on the storage mediurn that is not currently being

              used by an active file-for long periods of time before they are overwitten, In

               addition, a computer's operating system rnay also keep a record of deleted data in

              a "swap" 01'"fecovel'y" file.


           c. Wrolly aparl flom user-genel'ated files, computer stolage rnedia-in particular,
              cornputers' internal hard drives-contain electronic evidence of how a computer

              has been used, what it has been used for, and who has used it. To give a few

              examples, this forensic evidence can take the form of operating system

              configurations, adifacts from operating system or application operation, file

              system data structures. and virtual rnemory "swap" or paging files. Computer

              uscrs typically do not crasc or dclctc this cvidcncc, bccausc spccial softwarc is

              typically required for that task. However, it is technically possible to delete this

              information.


           d. Similarly, files that have been viewed via the Internet are sometimes
              automatically downloaded into a temporary Internet directory or "cache."


       28.    Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored inforrnation that might serve as direct

evidence of the crimes described on the warrant, but also forensic evidence that establishes how


                                                t3
      Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 14 of 21




the Device was used, the pulpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the TARGET COMPUTER because:

           a. Data on the storage medium can provide evidence of a file that was once on the
              stolage medium but has since been deleted or edited, or of a deleted portion of a

              file (such as a paragraph that has been deleted from a word processing file).

              Virtual melnory paging systems can leave traces of inforrnation on the storage

              medium that show what tasks and processes were recently active. Web browsers,

              e-mail programs, and chat programs store configuration information on the

              storage medium that can reveal information such as online nicknames and

              passwords. Operating systems can record additional information, such as the

              attachment of peripherals, the attachment of USB flash storage devices or other

              external storage media, and the times the computer was in use. Computer file

              systems can record information about the dates files were cleated and the

              sequence in which they were created.


          b. Forensic evidence on a device can also indicate who has used or controlled the
              device. This "user attribution" evidence is analogous to the search for "indicia of

              occupancy" while executing a search warrant at a residence.


          c. A person with appropriate familiarity with how an electronic device works may,
              after examining this forensic evidence in its proper context. be able to draw

              conclusions about how electronic devices were used, the purpose of their use, who

              used them, and when.




                                               14
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 15 of 21




           d. The process of identifying the exact electronically stored inforrnation on a storage
               mediurn that is necessaly to draw an accurate conclusion is a dynamic process.

               Electronic evideuce is not always data that can be merely reviewed by a review

               team and passed along to investigatols. Whethel data stored on a computer is

               evidence may depend on other information stored on the computer and the

               application of knowledge about how a computer behaves. Therefore, contextual

               information necessaly to understand other evidence also falls within the scope of

               the warrant.


           e. Further, in finding evidence of how a device was used, the purpose of its use, who
               used it, and when, sometimes it is necess ary to establish that a particular thing is

               not present on a storage medium.


       29.     Nature of examination. Based on the folegoing, and consistent with Rule

a1(e)(2)(B), the warrant I am applying for would permit the examination of the Devices

consistcnt with thc r,vamant. Thc cxamination may lcquirc ar-rthoritics to cmploy tcchniqucs,

including but not limited to computer-assisted scans of the entire medium, that rnight expose

many parts of the Devices to human inspection in order to determine whether it is evidence

desclibed by the warrant.

       30.     Manner of execution. Because this wanant seeks only permission to examine

devices akeady in law enforcement's possession, the execution of tliis warrant does not involve

the physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the

Court to authorize execution of the warrant at any tirne in the day or night.




                                                 15
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 16 of 21




                                         CONCLUSION

       31. I submit that this affidavit supports probable cause for a search warrant
authorizing the examination of the Devices described in Attachment A1 & A2 to seek the items

described in Attachment 81 & 82. Because ABP.UZZO had provided voluntarily Connecticut

Parole with the right to search his cellphone since November 23,2023, and because Connecticut

Parole has referred the case to the ATF, I believe that a search warrant dated back to that date is

reasonable in temporal scope




            Respectfully submitted,




                        o
            SPECIAL AGENT
            BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES


       Subscribed and sworn to before me

       on March 4,2024:




                    S,l     f'-
       THE HONORABLE S. DAVE VATTI
       I.INITED STATES MAGISTRATE ruDGE




                                                T6
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 17 of 21




                                     ATTACHMENT A.1

       The ploperty to be searched is the following, which were seized by the Monroe Police

Department and then a Connecticut Parole Officer from a vehicle used by of Gregory

ABRUZZO on February 20, 2024, and February 21, 2024, pursuant to a Statement of

Understanding and Agreement * Conditions of Parole, which Abruzzo executed on November

28,2023. This document required that ABRUZZO submit to a search of any and all of his

belongings at any time with or without cause:

       A.      One Apple, model MTQU3LL/A (iPhone 15 Pro), serial nurnber:
               DCVVDHZYXL (the TARGET TELEPHONE)

       One HP Laptop computer, seral number: 5CD312KW07 (the TARGET COMPUTER)

       The Devices are cullently located at the Connecticut Division of Parole and Comrnunity

Services, 1052 North Ave, Bridgeport, CT, Connecticut.

       This warrant authorizes the forensic examination of the Device for the purpose of

identiffing the electronically stored information described in Attachment B-1.
      Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 18 of 21




                                     ATTACHMENT A-2

       The propelty to be searched is the following, which were seized by the Monloe Police

Department and then a Connecticut Parole Officer fi'om a vehicle used by of Glegory

ABRIJZZO on Februaly 20, 2024, and Febluary 21, 2024, pursuant to a Statement of

Understanding and Agreement - Conditions of Parole, which Abruzzo executed on November

28,2023. This docurnent required that ABP.UZZO submit to a search of any and all of his

belongings at any time with or without cause:

                  One Apple, model MTQU3LL/A (iPhone 15 Pro), serial number:
                  DCVVDH2YXL (the TARGET TELEPHONE)

       One IfP Laptop computer, seral number: 5CD3l2KW07 (the TARGET COMPUTER)

       The Devices are currently located at the Connecticut Division of Palole and Comrnunity

Services, 1052 North Ave. Bridgeport, CT, Connecticut.

       This warrant authorizes the forensic examination of the Device for the purpose of

identifying the electronically stored information described in AttachmentB-2
      Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 19 of 21




                                       ATTACHMENT B-1

       1.       All records on the Device described in Attachment A-1 that relate to violations of

18 USC 922(a)(I)(A); 922(g(I) and 922(9)(3) and involve Gregory ABRUUZZO from

November 23,2023, until the date of seizure, including

            a   the telephone number, ESN number, selial numbet, and SIM card nurnbeL, or any
                other unique identifuing numbers;

            b. the numbers, digits, stored messages (voice andlor text), Ietters, symbols, data,
                infonnation, and images stored in the memory;

            c. descriptions of times, dates, locations, items, or events showing or tending to
                show the commission of, or connecting or tending to connect a person to, the
                above-described crimes;

            d. all records, however created or stoled, which demonstrate ownership and use of
                the device;

            e. all records providing identification bearing the name or photograph of any person,
                telephone-books, address books, date books, calendars, personal files, notes,
                rremos, and photographs of persons contained in the device;

            f. any evidence showing the identity of the maker or user of the data and
                information contained in the device, such as passwords, sign-on codes, and
                program design;

            g. GPS coordinates, waypoints, destinations, addresses, and location search
                parameters associated with GPS navigation software;

            h. saved searches, locations, and route history in the memory of said devices;
                internet browsing liistory, to include, internet searches in the rnemory of said
                device; and

            j. images and videos in the memory of said device; and



                                                  2
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 20 of 21




           k. Any conversations on applications downloadecl onto the device, including social
               media and text lnessage applications, including but not lirnited to iMessage.
               Facebook messenger, Snapchat. and other sin,ilar social media platforrns.

       As used above, the terms "Lecords" and "infolmation" include al] o1'the folegoing items

of evidence in whatever form and by whatever nleans they may have been created or stored.

including any forrn of computel ol electronic storage (such as flash lnemory or other media that

can store data) and any pliotographic folm.


II.    It is specifically authoizedthat stored electronic information, data, information and

images seized may be reploduced by printing, converting, ol copying into stolage in another

device, by converting said stored electronic information, or by copying said stored electronic

infonnation into storage in another device.


IIL    IT is specifically authorrzedthatthe   warrant will be deemed executed once the seized

items are extlacted from the phone and that further analysis of the seized items extracted fron'r

the phone is permitted at any time thereafter.




                                                  -l
       Case 3:24-mj-00180-SDV Document 1-1 Filed 03/04/24 Page 21 of 21




                                      ATTACHMENT B-2



1.     All records on the Device described in Attachment A-2 that relate to violations of 18

USC 922(a)(1XA); 922(g)(l) and 922(9)(3) and involve Gregory AIIP.UUZZO fi'om November

23,2023, until the date of seizure, including:


           a. all records, however created or stored, which demonstrate ownelship and use of
               the device;

           b. all records providing identification bealing the name or photograph of any pelson,
               telephone-books, address books, date books, calendars, personal files, notes,
               memos, and photoglaphs of persons contained in the device;

           c. any evidence showing the identity of the maker or user of the data and
               infolmation contained in the device, such as passwords, sign-on codes, and
               prograln design;

           d. all records related to firearms, ammunition, parts, accessories, or Privately Made
               Firearrns kits.

           e. all records, files, images, instructions related to the use of a 3-D printer




                                                 4
